Case 3:11-md-02244-K Document 1005 Filed 06/12/19                    Page 1 of 2 PageID 40193


                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE: DEPUY ORTHOPAEDICS, INC.,              )
PINNACLE HIP IMPLANT                          )       MDL Docket No. 3:11-MD-2244-K
PRODUCT LIABILITY LITIGATION                  )
___________________________________           )       Honorable Ed Kinkeade
                                              )
This Document Relates To:                     )
ALL CASES                                     )

                           MOTION AND INCORPORATED BRIEF
                          FOR CASE MANAGEMENT CONFERENCE

       Undersigned counsel, on behalf of several dozen plaintiffs in MDL 2244, hereby moves

this Court to schedule a case management conference in this matter to provide an update on the

status of the MDL, to allow input from counsel outside of appointed leadership, and to generally

ensure transparency in regard to the MDL process. In support thereof, undersigned counsel

would state as follows:

   1. It will likely be over half a year since active litigation in this MDL ended before a case

       management conference could occur.

   2. Plaintiffs are desperate for information regarding:

           a. Prospects for settling their case;

           b. Common benefit assessments that will be imposed on their case if and when they

               do settle; and

           c. Time until resumption of litigation in their case if they do not settle.

   3. Likewise, non-leadership counsel needs information from the Court to properly advise

       their clients regarding:

           a. The Court’s settlement plan;

           b. Further common issue discovery;
Case 3:11-md-02244-K Document 1005 Filed 06/12/19                   Page 2 of 2 PageID 40194


            c. Common benefit assessments;

            d. Court’s remand plan and timing; and

            e. Further rulings the Court anticipates making.

        Therefore, undersigned counsel moves the Court to schedule a case management

conference to provide for an update on the status of the MDL and to accept questions and input

from all parties.

                               CERTIFICATE OF CONFERENCE

        Undersigned counsel attempted to confer with Defendants’ counsel regarding this motion

in an effort to obtain Defendants’ agreement, but despite multiple written communications with

Defendants’ counsel, could neither obtain agreement to the motion nor a conference to discuss

the motion.

                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2019, I electronically filed the foregoing document with

the Clerk of the court using CM/ECF system which will send notification of such filing to the

CM/ECF participants registered to receive service in this MDL.



                                                     /s/ Altom M. Maglio
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